19-23013-rdd         Doc 355       Filed 02/02/22 Entered 02/02/22 12:54:26                      Main Document
                                               Pg 1 of 30



Mark Frankel                                                            Presentment Date and Time:
Backenroth Frankel & Krinsky, LLP                                       March 2, 2022 10:00 a.m.
800 Third Avenue, Floor 11
New York, New York 10022
(212) 593-1100

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                   Chapter 11
         53 Stanhope LLC, et al,1                                       Case no. 19-23013 (RDD)
                                                                        Jointly Administered
                                    Debtors.
----------------------------------------------------------x
                                      NOTICE OF PRESENTMENT

        PLEASE TAKE NOTICE, that under 327(a) and 328(a) of title 11 of the United States
Code, Rules 2014 of the Federal Rules of Bankruptcy Procedure, and Local Rules 2014-1 and
9074-1 of the Local Bankruptcy Rules for the Southern District of, and the attached application
for retention of Rosewood Realty Group (“Rosewood”), as exclusive real estate broker for 53
Stanhope LLC, 325 Franklin LLC, 618 Lafayette LLC, 92 South 4th St LLC, 834 Metropolitan
Avenue LLC, 1125-1133 Greene Ave LLC, APC Holding 1 LLC; Eighteen Homes LLC, and
1213 Jefferson LLC (the “Debtors”), the undersigned will present the attached proposed order to
the Honorable Robert D Drain, United States Bankruptcy Judge, for signature on March 2, 2022
at 10:00 a.m.

        PLEASE TAKE FURTHER NOTICE that unless a written objection to the proposed
order, with proof of service, is filed with the Clerk of the Court and two courtesy copies are
delivered to the Bankruptcy Judge's chambers at least three days before the date of presentment,
there will not be a hearing and the order may be signed.

        PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed, the Court
will notify the moving and objecting parties of the date and time of the hearing and of the
moving party’s obligation to notify all other parties entitled to receive notice. The moving and
objecting parties are required to attend the hearing, and failure to attend in person or by counsel
may result in relief being granted or denied upon default.




1
 The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
19-23013-rdd    Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26         Main Document
                                        Pg 2 of 30




        PLEASE TAKE FURTHER NOTICE that the ECF docket number to which the filing
relates shall be included in the upper right-hand corner of the caption of all objections.

Dated: New York, New York
       February 2, 2021
                                           BACKENROTH FRANKEL & KRINSKY, LLP
                                           Attorneys for the Debtors

                                           By: s/Mark A. Frankel
                                                  800 Third Avenue
                                                  New York, New York 10022
                                                  (212) 593-1100




                                              2
19-23013-rdd           Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26                      Main Document
                                               Pg 3 of 30



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                   Chapter 11

         53 Stanhope LLC, et al,2                                       Case no. 19-23013 (RDD)
                                                                        Jointly Administered
                                    Debtors.
----------------------------------------------------------x

                       APPLICATION TO RETAIN REAL ESTATE BROKER

                  53 Stanhope LLC, 325 Franklin LLC, 618 Lafayette LLC, 92 South 4th St LLC,

834 Metropolitan Avenue LLC, 1125-1133 Greene Ave LLC, APC Holding 1 LLC; Eighteen

Homes LLC, and 1213 Jefferson LLC (the “Debtors”), as and for their application to retain

Rosewood Realty Group (“Rosewood”) pursuant to the listing agreement annexed hereto as

Exhibit A, as exclusive real estate broker for the Debtors pursuant to sections 327(a) and

328(a) of title 11 of the United States Code, Rules 2014 of the Federal Rules of Bankruptcy

Procedure, and Local Rule 2014-1 of the Local Bankruptcy Rules for the Southern District of

New York, respectfully represents as follows:

                  1.       On May 20, 2019, each of the Debtors filed a Chapter 11 petition under

Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

                  2.       These cases involve loans made by Signature Bank to the Debtors in 7

separate notes and mortgages covering 13 properties dating back to September 2012. The loans




2
 The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
19-23013-rdd        Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 4 of 30




were assigned to Brooklyn Lender LLC (“Brooklyn Lender” or “Mortgagee”) on or about May

17, 2017.

               3.      The Debtors filed and confirmed their joint liquidating plan (“Plan”)

providing for a sale of the Properties. Brooklyn Lender appealed the Plan confirmation order

(the “Appeal”). Briefing is complete. The District Court has not yet ruled.

               4.      Under paragraph 72 of the Plan. “Marketing will be performed by

Rosewood Group under the direction of Greg Corbin (the “Broker”), who shall market to

prospective well-qualified purchasers that are ready, willing and able to purchase the Properties.”

The Rosewood listing agreement was annexed to the bidding auction procedures at Exhibit A to

the Plan (the “Auction Procedures’).

               5.      Rosewood subsequently marketed the Properties and oversaw an auction,

the results of which are set forth on exhibit A to the Debtors’ January 12, 2022 notice of hearing.

The total cash bids from the auction is $18,310,001. All proposed contracts have since been

executed and 10% deposits paid into escrow.

               6.      Exhibit B to the January 12, 2022 notice of hearing is a sale report

prepared by Rosewood. As summarized in the second to last page, Rosewood spent seven

months marketing, reached approximately 80,000 people, produced 11 registered bidders which

resulted in 153 bidding rounds, and the cash bids at about 25% above market comparables. This,

despite the fact that the Plan that authorized the sale was under the cloud of Brooklyn Lender’s

unresolved appeal.

                                                 2
19-23013-rdd        Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 5 of 30




               7.      At the hearing held on January 12, 2022, the Court ordered that the

auction be continued and that the Debtors make the instant application to formally retain

Rosewood by order of the Court.

               8.      The Debtors believe that Rosewoods services were, and continue to be,

critical to the success of the proposed sale of the Debtors’ Properties.

               9.      As set forth more fully in the declaration of Greg Corbin (“Corbin

Declaration”), Rosewood is well-suited to provide the real estate services required by the

Debtors. The Rosewood is a licensed real estate broker in and by the State of New York with

substantial experience in the marketing and sale of residential properties such as the Properties

here. The Debtors believe that Rosewood has thoroughly and effectively marketed the Property.

               10.     As set forth in Paragraph 4 of the Listing Agreement, as compensation,

Rosewood is entitled to a 5% buyer’s premium:

       Rosewood will be paid a commission equal to five percent (5 %) of the gross
       purchase price of the Property, which will be paid directly to Rosewood at closing
       without further order of the Court, by the successful purchaser, separate from and
       in addition to the consideration (or gross purchase price) that the successful
       purchaser pays for the Property. . . .

               11.     The Debtors seeks approval of the Listing Agreement pursuant to sections

327(a) and 328(a) of the Bankruptcy Code. Section 328(a) provides, in relevant part, that a

debtor “with the court’s approval, may employ or authorize the employment of a professional

person under section 327 … on any reasonable terms and conditions of employment, including



                                                  3
19-23013-rdd      Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26              Main Document
                                          Pg 6 of 30




on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.”

11 U.S.C. § 328(a).

               12.     The Debtors submit that the fee structure set forth in the Listing

Agreement is reasonable under section 328(a) of the Bankruptcy Code in light of (a) the nature

and scope of services to be provided by Rosewood, (b) industry practice with respect to the fee

structure proposed by Rosewood, (c) market rates charged for comparable services both in and

out of chapter 11, (d) Rosewood’s substantial experience in the New York real estate market and

(e) the prior approval of the Listing Agreement under the Plan.

               13.     In addition, the terms of the Listing Agreement were negotiated in good

faith and at arms-length between the Debtors and Rosewood, and reflect the Debtors’ evaluation

of the value and expertise of the work to be performed by Rosewood.

               14.     The Debtors seeks approval of the fee arrangement in the Listing

Agreement and authority to retain and employ Rosewood as the Debtors broker in these Chapter

11 Cases under section 327(a) of the Bankruptcy Code. Section 327(a) provides that a debtor

“may employ one or more attorneys, accountants, appraisers, auctioneers, or other professional

persons, that do not hold or represent an interest adverse to the estate, and that are disinterested

persons, to represent or assist the [debtor in possession] in carrying out [its] duties.” 11 U.S.C.

§327(a).

               15.     To the best of the Debtors’ knowledge, and as set forth in more detail in

the Corbin Declaration, and subject to the disclosures made therein, Rosewood (a) is a

                                                  4
19-23013-rdd      Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26              Main Document
                                           Pg 7 of 30




“disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code, as

modified by section 1107(b) of the Bankruptcy Code, and (b) does not hold or represent an

interest adverse to the Debtors or the Debtors’ estates.

               16.     Furthermore, except as disclosed in the Corbin Declaration, Rosewood has

indicated that, based on the results of their research conducted to date, and to the best its

knowledge, neither Rosewood, nor any employee thereof providing the services to the Debtors

under the Listing Agreement, has any connection with the Debtors, any creditors of the Debtors’

estate, or any other parties-in-interest or their respective attorneys and accountants, or other

advisors, or the U.S. Trustee, or any person employed in the Office of the U.S. Trustee.

               17.     Rosewood was not owed any amounts by the Debtors as of the Petition

Date and does not hold a claim against the Debtors’ estates. Rosewood has indicated that if it

discovers any information that is contrary to or pertinent to the statements made in the Corbin

Declaration, Rosewood will promptly disclose such information to this Court and the U.S.

Trustee.

               18.     The Debtors have been advised that Rosewood has agreed not to share

with any person or firm, other than its own principals and employees, the compensation to be

paid by the Debtors for the professional services rendered in connection with this case.

               19.     The Debtors respectfully submit that, because Rosewood’s compensation

is results oriented and directly related to benefits received by the Debtors’ estates as a result of

sales transactions, requiring Rosewood to filed detailed time records and periodic fee

                                                  5
19-23013-rdd     Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 8 of 30




applications in accordance with sections 330 and 331 of the Bankruptcy Code, and in compliance

with Bankruptcy Rule 2016 and General Order M-447, Amended Guidelines for Fees and

Disbursements for Professionals in Southern District of New York Bankruptcy Cases (the “Fee

Guidelines”) is unnecessary under the circumstances. The Debtors have been advised by the

Rosewood that it is not their practice to keep detailed time records similar to those customarily

kept by attorneys and other professionals who are compensated on an hourly basis.

               20.     As set forth herein, Rosewood is being retained and will be employed by

the Debtors to perform a highly specialized task and accordingly, will not be compensated based

upon time and effort expended. Instead, Rosewood will be compensated based on a percentage

of the proceeds of any final transaction consummated in connection with the Properties.

Requiring Rosewood to record and submit detailed time entries in light of the nature of the

services to be rendered by Rosewood and the flat fee, percentage-based fee structure proposed

under the Listing Agreement would be unduly burdensome to Rosewood given the large number

of Rosewood personnel working on the project The Debtors further acknowledge and agree that

the ultimate benefit to the Debtors’ estates from the Rosewood’s services likely could not be

measured merely by reference to the number of hours to be expended by its professionals in the

performance of such services. Accordingly, the Debtors request that Rosewood be relieved of

the requirement to maintain detailed time records or file interim fee applications, and any fee

application filed by Rosewood not be subject to review under section 330 of the Bankruptcy

Code.



                                                 6
19-23013-rdd      Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 9 of 30




               21.     No previous application for the relief requested herein has been made in

this or any other court.

               WHEREFORE, the Debtors respectfully requests the Court enter an order

substantially in the form annexed hereto approving the retention of Rosewood as the Debtors’

exclusive real estate brokers and granting such other and further relief as the Court deems just

and proper.

Dated: New York, New York
       February 2, 2022


                                              By:   s/David Goldwasser, as authorized signatory
                                              of GC Realty Advisors, LLC, as Vice President




                                                 7
19-23013-rdd           Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26                      Main Document
                                               Pg 10 of 30




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                   Chapter 11

         53 Stanhope LLC, et al,3                                       Case no. 19-23013 (RDD)
                                                                        Jointly Administered
                                    Debtors.
----------------------------------------------------------x
                                 DECLARATION OF GREG CORBIN

         GREG CORBIN hereby declares under penalty of perjury and pursuant to 28 U.S.C.

§ 1746 that the following is true and correct to the best of my knowledge, information and belief:

                  1.       I am a licensed real estate agent in the state of New York and am the

President of Bankruptcy and Restructuring at Rosewood Realty Group (“Rosewood”).

                  2.       I am authorized to execute this Declaration on behalf of Rosewood.

                  3.       I respectfully submit this Declaration in support of the application (the

“Application”) of 53 Stanhope LLC, 325 Franklin LLC, 618 Lafayette LLC, 92 South 4th St

LLC, 834 Metropolitan Avenue LLC, 1125-1133 Greene Ave LLC, APC Holding 1 LLC;

Eighteen Homes LLC, and 1213 Jefferson LLC (the “Debtors”) for entry of an order approving

the retention of Rosewood as exclusive real estate broker for the Debtors pursuant to sections

327(a) and 328(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 of




3
 The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
19-23013-rdd        Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26           Main Document
                                          Pg 11 of 30




the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 2014-1 of

the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”).

               4.       Unless otherwise stated in this Declaration, I have personal knowledge of

the facts set forth herein. To the extent any information disclosed herein requires amendment or

modification upon Rosewood’s completion of further review, or as additional information

regarding parties in interest in these Chapter 11 Cases becomes available, a supplemental

declaration will be submitted to the Court reflecting such amended, supplemented, or otherwise

modified information.

               5.       Rosewood is well-suited to provide real estate services to the Debtors.

Rosewood is a licensed real estate broker in and by the State of New York, with substantial

experience in the marketing and sale of commercial and residential real property. Rosewood

has been ranked the number one single office investment sales firm in New York in

transaction volume from 2007 to 2021. Rosewood has reached over $3.2 billion in sales per

year and its brokers and agents have sold over 3,700 buildings with an aggregate value of

approximately $23.5 billion. Rosewood has extensive experience in selling buildings via

chapter 7 and 11. Moreover, Rosewood’s brokers and agents work as a company to procure

purchases for the properties Rosewood sells, rather than a single agent or team working to

market a property.




                                                 2
19-23013-rdd        Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 12 of 30




               6.      The Debtors filed and confirmed their joint liquidating plan (“Plan”)

providing for a sale of the Properties. Brooklyn Lender appealed the Plan confirmation order

(the “Appeal”). Briefing is complete. The District Court has not yet ruled.

               7.      Under paragraph 72 of the Plan. “Marketing will be performed by

Rosewood Group under the direction of Greg Corbin (the “Broker”), who shall market to

prospective well-qualified purchasers that are ready, willing and able to purchase the Properties.”

The Rosewood listing agreement was annexed to the bidding auction procedures at Exhibit A to

the Plan (the “Auction Procedures’).

               8.      Rosewood subsequently marketed the Properties and oversaw an auction,

the results of which are set forth on exhibit A to the Debtors’ January 12, 2022 notice of hearing.

The total cash bids from the auction is $18,310,001. All proposed contracts have since been

executed and 10% deposits paid into escrow.

               9.      Exhibit B to the January 12, 2022 notice of hearing is a sale report

prepared by Rosewood. As summarized in the second to last page, Rosewood spent seven

months marketing, reached approximately 80,000 people, produced 11 registered bidders which

resulted in 153 bidding rounds, and the cash bids at about 25% above market comparables. This,

despite the fact that the Plan that authorized the sale was under the cloud of Brooklyn Lender’s

unresolved appeal.




                                                 3
19-23013-rdd      Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                          Pg 13 of 30




               10.     At the hearing held on January 12, 2022, the Court ordered that the

auction be continued and that the Debtors make the instant application to formally retain

Rosewood by order of the Court.

               11.     In connection with preparing and submitting this declaration, Rosewood

searched its records for any open transactions and/or contracts that involve, or may involve the

Debtors, and their principals, agents, and affiliated entities, in this Bankruptcy Court proceeding

and determined that it has no such transactions and/or contracts to disclose except as stated

below. Rosewood has represented and sold property for an affiliate of Brooklyn Lender on

several occasions in the past and is currently in contract to sell a 3 building portfolio for them.

Additionally, Rosewood is currently representing Maguire Capital on a transaction

unaffiliated to this case.

               12.     Except as stated herein, to the best of my knowledge, information and

belief, Rosewood does not currently represent the Debtors or any of their agents, principals or

affiliated entities, the Debtors’ creditors or any other party in interest in the Chapter 11 Case,

in connection with any active, ongoing or pending listing contract for sale/rent or

buyer/tenant representation agreement.

               13.     Except as stated herein, to the best of my knowledge, information and

belief, neither Rosewood nor any of its employees or affiliated sales associates represent any

interest adverse to the Debtors or their estates in any matters upon which Rosewood is to be

engaged.


                                                 4
19-23013-rdd      Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26              Main Document
                                           Pg 14 of 30




                14.     In the course of its real estate brokerage business, Rosewood appears in

numerous cases, proceedings and/or transactions that involve many different professionals,

including attorneys, accountants and financial consultants, who may represent claimants and

parties-in-interest in the Debtors’ Chapter 11 Cases. Rosewood has in the past, may currently

and likely will in the future be working with other professionals involved in these cases in

matters unrelated to the Debtors and these cases. To the best of my knowledge, information

and belief, none of these relationships create interests materially adverse to the Debtors in the

matters upon which Rosewood is to be employed.

                15.     Based on the foregoing Rosewood does not believe that it holds or

represents an interest that is adverse to the Debtors’ estates, and that Rosewood is a

“disinterested person” as such term is defined in section 101(14) of the Bankruptcy Code, as

modified by section 1107(b) of the Bankruptcy Code, in that Rosewood, or its employees or

affiliated sales associates:

        (a) are not creditors, equity security holders or insiders of the Debtors;

        (b) are not and were not investment bankers for any outstanding security of the
            Debtors;

        (c) have not been, within three years before the Petition Date, investment bankers
            for a security of the Debtors, or an attorney for such an investment banker in
            connection with the offer, sale, or issuance of a security of the Debtors;

        (d) are not and were not, within two years before the Petition Date, a director,
            officer, or employee of the Debtors or any investment banker specified in
            subparagraph (ii) or (iii) of this paragraph; and


                                                  5
19-23013-rdd      Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26             Main Document
                                          Pg 15 of 30




       (e) do not have an interest materially adverse to the interest of the estate or of any
           class of creditors or equity security holders, by reason of any direct or indirect
           relationship to, connection with, or interest in, the Debtors or an investment
           banker specified in subparagraph (ii) or (iii) of this paragraph, or for any other
           reason, other than as set forth herein.

               16.     Rosewood maintains that it is disinterested and should be retained to serve

as the Debtors’ real estate broker.

               17.     Rosewood will regularly review its records to ensure that no disqualifying

circumstances arise as to any new, significant creditors that come to light, and if any new

relevant facts or relationships are discovered, Rosewood will file a supplemental disclosure with

the Court and serve such supplemental disclosure on the Office of the United States Trustee for

the Southern District of New York.

               18.     Based upon the foregoing, insofar as I have been able to ascertain after

diligent inquiry, I believe that Rosewood does not hold or represent an interest adverse to the

Debtors’ estate in the matters upon which Rosewood is to be employed, and that Rosewood is

“disinterested” as such term is defined in section 101(14) of the Bankruptcy Code, as modified

by section 1107(b) of the Bankruptcy Code.

               19.     Rosewood is not a creditor of the Debtors or their estates. The Debtors

have not yet paid any amounts to Rosewood, either pre- or post- petition.

               20.     It is contemplated that Rosewood will seek compensation in accordance

with the Listing Agreement, subject to the approval of this Court and compliance with applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, the

                                                 6
19-23013-rdd     Doc 355     Filed 02/02/22 Entered 02/02/22 12:54:26            Main Document
                                         Pg 16 of 30




United States Trustee’s Guidelines for Fees and Disbursements, and any administrative orders

issued by the Court.

               21.     As set forth in Paragraph 4 of the Listing Agreement, as compensation,

Rosewood is entitled to a 5% buyer’s premium:

       Rosewood will be paid a commission equal to five percent (5 %) of the gross
       purchase price of the Property, which will be paid directly to Rosewood at closing
       without further order of the Court, by the successful purchaser, separate from and
       in addition to the consideration (or gross purchase price) that the successful
       purchaser pays for the Property. . . .

               22.     The source of any compensation to Rosewood shall be the Debtors, to

be paid out of the proceeds of the sale of the Properties in accordance with the Listing

Agreement. Rosewood’s compensation is results-oriented and directly related to benefits

received by the Debtors’ Estates. Rosewood will not be compensated based upon time and

effort expended. Accordingly, Rosewood respectfully submits that the recording and

submission of detailed time entries for services rendered in these sales is unnecessary; and

would be unduly burdensome to Rosewood. given the large number of Rosewood personnel

working on the project.

               23.     No promises have been received by Rosewood, or any employee or

affiliated sales associate thereof, as to payment or compensation in connection with these

Chapter 11 Cases other than in accordance with the provisions of the Bankruptcy Code, the

Bankruptcy Rules, and the Local Bankruptcy Rules. Rosewood has no agreement with any other

entity to share with such entity any compensation received by Rosewood or by such entity.

                                                7
19-23013-rdd     Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26        Main Document
                                          Pg 17 of 30




               24.     The Application requests approval of Rosewood’s retention on terms and

conditions consistent with the Listing Agreement.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct.

Dated: New York, New York
       February 2, 2022
                                                    _____________________________
                                                    Greg Corbin




                                               8
19-23013-rdd         Doc 355       Filed 02/02/22 Entered 02/02/22 12:54:26                       Main Document
                                               Pg 18 of 30




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                    Chapter 11
                                      1
         53 Stanhope LLC, et al,                                         Case no. 19-23013 (RDD)
                                                                         Jointly Administered
                                    Debtors.
----------------------------------------------------------x

           ORDER AUTHORIZING RETENTION OF REAL ESTATE BROKER2

                  Upon the application (“Application”) of 53 Stanhope LLC, 325 Franklin LLC,

618 Lafayette LLC, 92 South 4th St LLC, 834 Metropolitan Avenue LLC, 1125-1133 Greene

Ave LLC, APC Holding 1 LLC; Eighteen Homes LLC, and 1213 Jefferson LLC (the “Debtors”),

requesting authorization to retain Rosewood Realty Group (“Rosewood”) as exclusive real estate

broker for the Debtors pursuant to sections 327(a) and 328(a) of title 11 of the United States

Code (the “Bankruptcy Code”), Rules 2014 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Local Rule 2014-1 of the Local Bankruptcy Rules for the Southern

District of New York (the “Local Rules”); and upon the Declaration of Greg Corbin, in support

of the Application; and the Court having reviewed the Application, the Corbin Declaration; and

the Court being satisfied based on the representations made in the Application, and Corbin




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
2
  Capitalized terms not defined herein shall have the meaning ascribed to them in the Application
19-23013-rdd      Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26               Main Document
                                           Pg 19 of 30




Declaration, that Rosewood is a “disinterested person” within the meaning of sections 101(14)

and 327(a) of the Bankruptcy Code; and the relief requested in the Application is necessary and

in the best interests of the Debtors’ estate, creditors, and other parties-in-interest; and it

appearing that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

and it further appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and

venue being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of the

Application having been given under the particular circumstances; and it appearing that no other

or further notice need be provided; and upon the record herein; and after due deliberation

thereon; and sufficient cause appearing therefor, it is hereby

ORDERED THAT,

        1.      The Application is GRANTED as set forth herein.

        2.      Pursuant to sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy

Rule 2014, the Debtors are hereby authorized to employ and retain Rosewood as the Debtors’

exclusive real estate broker to assist with the sale and disposition of the Debtors’ real property

(“Properties”) on the terms set forth in the Application, the Listing Agreement, and the Corbin

Declaration.

        3.      The terms and provisions of the Listing Agreement are reasonable and are

approved, and Rosewood is authorized to collect a buyer’s premium as its commission at the

closing of Property sales directly from the buyer(s) of the Properties or as otherwise provided for

in the Listing Agreement. Rosewood’s commission remains subject to the filing of a final fee
19-23013-rdd     Doc 355      Filed 02/02/22 Entered 02/02/22 12:54:26             Main Document
                                          Pg 20 of 30




application by Rosewood in accordance with the applicable provisions of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules and any orders entered by the Court; provided, however,

that Rosewood shall be compensated and reimbursed pursuant to Bankruptcy Code section

328(a) and that Rosewood’s commission and expenses shall not be subject to the standard of

review set forth in section 330 of the Bankruptcy Code.

       4.      To the extent the Application, the Listing Agreement, or the Corbin Declaration is

inconsistent with this Order, the terms of this Order shall govern.

       5.      Notwithstanding any stay that might be imposed by Bankruptcy Rule 6004(h),

this Order shall be effective and enforceable immediately upon entry hereof.

       6.      The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

       7.      This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.

Dated: White Plains, New York
       March [ ], 2022
                                              ____________________________________
                                              UNITED STATES BANKRUPTCY JUDGE
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 21 of 30




NO OBJECTION:


___________________________________
OFFICE OF UNITED STATES TRUSTEE
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 22 of 30




                               Exhibit A
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 23 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 24 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 25 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 26 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 27 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 28 of 30
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 29 of 30




      David Goldwasser
     Manager



     4/7/21
19-23013-rdd   Doc 355   Filed 02/02/22 Entered 02/02/22 12:54:26   Main Document
                                     Pg 30 of 30
